                        Case 17-23083-LMI               Doc 19        Filed 12/27/17          Page 1 of 1


RE: Mary Catherine Arroyo                                     PRO SE                     Case# 17-23083 LMI
         TRUSTEE'S NOTICE OF DEFICIENCY FOR CONFIRMATION AND RECOMMENDATION (Pre 341)
The Trustee reviewed this case for confirmation and found the following deficiencies from the Trustee's letter requesting
documents and prior deficiencies and thus objects as follows:
     Tax retums·                                                      .f Photo ID(s) .f LF 90           LF67        LF10
..£. Bank Account :-;tatements ./ 3 months pre-petition           _ Domestic Support Info: name address and phone
                                                                  _Affidavit of Support

                                                                        ~ Other provisions Income Verification Language
_Check copy _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                           .'lan does not fund (1-36)
_ Explain W/D _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                            _Calculation errors/improper months _ _ _ _ _ __
_ FMV(NADA/Carmax), Reg and Payoff:Vehicles_ __                           Valuation motion has not been filed
                                                                           MMM motion not filed
_ FMV and Payoff: Real Estate_ _ _ _ _ _ _ _ __                         L Reaffirm, redeem or surrenderr:s:ru::rrl& G creditor ABC
                                                                           Creditor on plan not listed in Schedules or no filed POC
   Non homestead Information Sheet                                         Priority debt on Sch E not in plan
_Wage deduction order or motion to waive                                _Object or Conform to Proof of Claim
BUSINESS DEBTOR DOCUMENTS                                                  _Miami-Dade County            _Tax Certificate(DE#__)
.{_ BDQ & attachments ./ Profit & Loss ./ Balance Sheet                    _Dept of Revenue                  IRS
~Bank statements and checks ./ 3 months - - - - - -
                                                                         Sectwn III. A.- Missing account number
                                                                        {_Other: Plan Base under minimum amount of$55
                                                                             -Princetonian by the Park HOA twice on plan
         Fee application (see court guideline 6)                               Objection to Exemption (specifics to be filed)
         Income understated             stubs         taxes                    To be heard with confirmation at 1:30pm
         co-debtor                      stubs         taxes              2g    Ch 7 s/b {/0          plus tax refund I valuations
         Spouse's pay advices/spouse's wages not disclosed                     Good faith to unsecured
         Proof of household size (govemment ID w/ address)               _     Expenses: documentation/calculation: CMI line
         and income of all adults
         Best effort < 36 months < 60 months
         Expenses objectionable: Sch J D Provide Proof
                                                                                 CMI/DI _ _ _ _ x 60 = _ _ _ _ _ __
         D/I > l 00% < 90% Feasibility                                   D    Plus income/expenses issues D Trustee est. $_ __
         Info on transfer SOFA _ _ _ _ undisclosed                               Undervalued collateral should be crammed down
         _Tolling Agreement(s)

Other:
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Trustee reserves the right to raise additional objections until all requested documents are timely provided.

IMPORTANT NOTICE REGARDING CONFIRMATION: IF THE DEBTOR(S) OBJECTS TO THE TRUSTEE'S
RECOMMENDATIONONTHEPUBL/SHEDCALENDAR, THEDEBTOR'SATTORNEYMUSTCONTACTTHETRUSTEE'S
OFFICE AND SPEAK TO AN ATTORNEY BEFORE 2PM THE DAY PRIOR TO THE HEARING OR THE RECOMMENDATION
WILL BE DEEMED UNCONTESTED BY THE DEBTOR. **The Trustee's calendar will be published prior to the confirmation
hearing- contact the Trustee's office on how to locate the calendar on her web site -access is limited The debtor or debtor's attorney
must appear at the confirmation hearing The debtor may still be dismissed for failure to fund the plan if they are delinquent in payments.
Please note: documents that were not timely filed/received by the trustee may not be considered or reviewed until the next hearing date.

Deficiencies must be cured by 5 pm on            JAN 1 9 ZOJ8)        to avoid dismissal
The Trustee will recommend dismissal of this case unless a) The Trustee receives copies of all requested
documents as listed above, b) The Trustee receives a written response with "back-up documentation"
of all issues raised, c) The debtor files all amendments, and d) The debtor files and properly serves all
motions and self-calendars those motions for the first confirmation hearing.
I hereby certify that a true and correct copy of the foregoing was served through ECF on the debtor's attorney or by U.S. First
Class pre-paicfMail on the prose debtor on the same day fi1ed with the Court. Submitted by NANCY K. NEIDICH CHAPTER
13 TRUSTEE, P.O. BOX 279806, MIRAMAR, FL 33027
